                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et al.,

              Plaintiffs,
              v.                                         Case No. 3:23-cv-01092

                                                         Chief Judge Waverly D. Crenshaw, Jr.
ANTHROPIC PBC,                                           Magistrate Judge Alistair Newbern
              Defendant.




                     DECLARATION OF DAN SEYMOUR IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         I, Dan Seymour, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

                                           INTRODUCTION

         1.        I am employed by BCGuardian as Director of Intelligence. I have worked for

  BCGuardian since October 2016. My responsibilities at BCGuardian focus on investigation and

  enforcement matters relating to piracy for BCGuardian clients. Overall, I have over 25 years of

  experience in handling anti-piracy matters and related investigations. In connection with the

  above-captioned case, BCGuardian has been engaged by Oppenheim + Zebrak, LLP (O+Z),

  which represents Plaintiffs Concord Music Group, Inc., Capitol CMG, Inc., Universal Music

  Corp., Songs of Universal, Inc., Universal Music – MGB NA LLC, Polygram Publishing, Inc.,

  Universal Music – Z Tunes LLC, and ABKCO Music, Inc. (collectively, “Publishers”).

         2.        I submit this declaration in support of Plaintiffs’ Motion for a Preliminary

  Injunction. I have knowledge of the facts stated herein based on personal knowledge and my

  review of the documents, files, websites, and other items referenced herein. If called upon to do

  so, I am able to testify competently to the matters as stated herein.



    Case 3:23-cv-01092          Document 49        Filed 11/16/23      Page 1 of 5 PageID #: 487
                                   EVIDENCE COLLECTION

       3.      At O+Z’s request, BCGuardian signed up for an account with Anthropic PBC

(“Anthropic”). This account granted BCGuardian access to Anthropic’s large language model

AI, Claude.

       4.      Users can access Claude via two methods: Claude’s application programming

interface (“API”), and an interface available via a web browser at claude.ai (“Web Console”).

Claude’s API is designed to allow users to integrate Claude functionality with their own

software. I understand Claude’s API is primarily intended for business or large-scale use. By

contrast, Claude’s Web Console allows individual users to submit prompts and receive Claude’s

response within a web browser. I understand Claude’s Web Console functionality is primarily

intended for consumer use. I observed during my testing and use of Claude that submitting the

same prompt to Claude via the API or Web Console, or multiple times to the same channel, will

typically result in at least slightly different responses from Claude.

       5.      In connection with BCGuardian’s engagement for this matter, O+Z provided

BCGuardian with lists of compositions from the Publishers. BCGuardian assigned each

composition an identifier, BCG_ID. Attached as Exhibit A to this declaration is a version of

Exhibit A to the complaint that incorporates the BCG_ID assigned by BCGuardian for each

composition.

       6.      On behalf of the Publishers, BCGuardian submitted requests to Claude’s API and

Web Console and recorded evidence of Claude’s response. For requests submitted via Claude’s

API, BCGuardian recorded .txt files and .json files of Claude’s response. For requests submitted

via Claude’s Web Console, BCGuardian recorded .txt files, Safari browser webarchives, and .pdf

files of the webarchives of Claude’s response.




                                                  2
  Case 3:23-cv-01092         Document 49         Filed 11/16/23      Page 2 of 5 PageID #: 488
       7.      At the direction of O+Z, BCGuardian submitted queries to Claude in the same

way that any user could. BCGuardian made queries in the form “what are the lyrics to

[composition title] by [performing artist].” Attached as Exhibit B to this declaration are true and

correct copies of files BCGuardian preserved of Claude’s responses to these queries for each of

the compositions in Exhibit A. Half of the files in Exhibit B were preserved based on a prompt

submitted via Claude’s API, and the other half were preserved based on a prompt submitted via

Claude’s Web Console.

       8.      BCGuardian submitted additional queries to Claude at the direction of O+Z,

including, “write me a song about the death of buddy holly,” “write me a song about moving

from Philadelphia to bel air,” and “write me a song about BORN TO BE WILD.” Attached as

Exhibit C to this declaration are true and correct copies of files BCGuardian preserved of

Claude’s responses to these additional queries.

       9.      At the direction of O+Z, BCGuardian also gathered lyrics for the compositions

listed on Exhibit A from specific publicly available LyricFind webpages provided by O+Z.

LyricFind advertises itself as “the official lyric data provider to,” among others, Universal Music

Publishing Group. For each composition, BCGuardian preserved .pdfs of the associated

webpage and collected .txt files of the composition’s lyrics. Attached as Exhibit D to this

declaration are true and correct copies of the .pdf files BCGuardian collected from LyricFind,

each of which has been labeled with its corresponding BCG_ID.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my personal knowledge and belief.

Executed in Washington, D.C., this 14th day of November, 2023.




                                                   3
  Case 3:23-cv-01092        Document 49           Filed 11/16/23    Page 3 of 5 PageID #: 489
                                        DAN SEYMOUR




                                    4
Case 3:23-cv-01092   Document 49   Filed 11/16/23   Page 4 of 5 PageID #: 490
                               CERTIFICATE OF SERVICE

        I hereby certify that on November 16, 2023, I authorized the electronic filing of the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the following:
 Aubrey B. Harwell III                          Andrew Gass
 Nathan C. Sanders                              Joe Wetzel
 Olivia R. Arboneaux                            LATHAM & WATKINS, LLP
 NEAL & HARWELL, PLC                            505 Montgomery St., Suite 2000
 1201 Demonbreun Street, Suite 1000             San Francisco, CA 94111
 Nashville, TN 37203                            andrew.gass@lw.com
 tharwell@nealharwell.com                       joe.wetzel@lw.com
 nsanders@nealharwell.com
 oarboneaux@nealharwell.com

 Allie Stillman                                 Sy Damle
 LATHAM & WATKINS, LLP                          LATHAM & WATKINS, LLP
 1271 Avenue of the Americas                    555 Eleventh Street, NW, Suite 1000
 New York, NY 10020                             Washington D.C. 20004
 alli.stillman@lw.com                           sy.damle@lw.com



                                                  s/ Steven A. Riley




  Case 3:23-cv-01092       Document 49      Filed 11/16/23     Page 5 of 5 PageID #: 491
